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                                          U.S. Department of Justice
[Type text]
                                                     United States Attorney
       H                                             Southern District of New York

                                                    The Silvio J. Mollo Building
                                                    One Saint Andrew’s Plaza
                                                    New York, New York 10007


                                                       April 12, 2023

BY ECF

The Honorable Vernon S. Broderick
United States District Judge
Southern District of New York
United States Courthouse
40 Foley Square, Courtroom 518
New York, New York 10007

       Re:     United States v. Sayfullo Habibullaevic Saipov, S1 17 Cr. 722 (VSB)

Dear Judge Broderick:

        Pursuant to the Court’s order dated March 29, 2023, (Dkt. 784), the Government writes to
advise the Court that the Government does not object to the sentencing date of May 17, 2023. The
Government anticipates that approximately 30 victims and family members will attend the
sentencing, and that many of them will wish to address the Court. In addition, victims and family
members who are unable to attend the sentencing may present written or recorded materials. We
expect that the victims and family members will keep their remarks to approximately 5-10 minutes
each. To the extent the Court is available, and wishes, to begin the sentencing earlier in the day,
the Government, and the victims are available.

       The Government does not object to the jurors attending the sentencing. (Dkt. 786).

                                                       Respectfully submitted,

                                                       DAMIAN WILLIAMS
                                                       United States Attorney


                                                 By:          /s/
                                                       Andrew Dember
                                                       Amanda Houle
                                                       Jason A. Richman
                                                       Alexander Li
                                                       Assistant United States Attorneys

cc: Defense counsel (by ECF)
